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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


ANDREW W. RAYMOND,                        )
                                          )
       Plaintiff,                         )
                                          )      CASE NO.: ____________
vs.                                       )
                                          )
UNLIMITED TAXES & MORE                    )         Jury Trial Demanded
FRANCHISING COMPANY, LLC,                 )
UNLIMITED TAXES & MORE,                   )
INC.,                                     )
UNLIMITED TAXES & MORE                    )
LICENSING COMPANY, LLC.,                  )
UNLIMITED TAXES & MORE TAX                )
TRAINING RESOURCE CENTER,                 )
LLC and SHONDA M. MICKEL,                 )
                                          )
       Defendants.

  VERIFIED COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

      COMES NOW, Plaintiff Andrew W. Raymond, by and through undersigned

counsel, and files this Verified Complaint for Damages and Equitable Relief against

Defendants Unlimited Taxes & More Franchising Company, LLC, Unlimited Taxes

& More, Inc., Unlimited Taxes & More Licensing Company, LLC., Unlimited Taxes

& More Tax Training Resource Center, LLC, and Shonda M. Mickel (collectively,

“Unlimited” or the “Defendants”), and shows the Court as follows:



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                      PARTIES, JURISDICTION AND VENUE

                                          1.

      This Court has jurisdiction over one or more causes of action under 28 U.S.C.

§ 1332. The matter in controversy is between citizens of different States.

                                          2.

      Plaintiff Andrew W. Raymond (“Franchisee” or “Raymond”) is a citizen of

the State of Texas.

                                          3.

      Defendant Unlimited Taxes & More Franchising Company, LLC, is a Georgia

limited liability company, and has its principal place of business in the State of

Georgia (“UT&M Franchising”). UT&M Franchising is an affiliate of the other

Defendants.

                                          4.

      Defendant Unlimited Taxes & More, Inc. is a Georgia corporation, and has its

principal place of business in the State of Georgia (“UT&M Corp”). UT&M Corp is

an affiliate of the other Defendants.

                                          5.

      Defendant Unlimited Taxes & More Licensing Company, LLC. (“UT&M

Licensing”) is a Georgia limited liability company and has its principal place of

business in the State of Georgia. UT&M Licensing is an affiliate of the other


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Defendants.

                                          6.

      Unlimited Taxes & More Tax Training Resource Center, LLC (“UT&M

Training”) is a Georgia limited liability company and has its principal place of

business in the State of Georgia. UT&M Training is an affiliate of the other

Defendants.

                                          7.

      Defendant Shonda M. Mickel (“Mickel”) is a natural person, a citizen of the

State of Georgia, and has her principal residence in the State of Georgia.

                                          8.

      The matter in controversy, without interest and costs, exceeds the sum or value

specified by 28 U.S.C. § 1332.

                                          9.

      One or more causes of action in this action arises under a federal statute,

including 18 U.S.C. 1343, 18 U.S.C. § 1961-1968, and 18 U.S.C. § 1964, et seq.

                                          10.

      Each Defendant caused a tortious injury to Plaintiff in Georgia, through acts

and omissions inside and outside Georgia. Jurisdiction is appropriate against each

Defendant in this Court.




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                                                       11.

        Defendants UT&M Franchising entered into a Franchise Agreement and

Software License Agreement with Raymond in the state of Georgia, contacted

Raymond by telephone and email in advance of Raymond executing the

aforementioned agreements for the sake of soliciting the same, and transacted

business in the state of Georgia.

                                                       12.

        Defendant UT&M Corp entered into an Affiliate Software License

Agreement with Raymond in the state of Georgia, contacted Raymond by telephone

and email in advance of the aforementioned agreement for the sake of soliciting the

same, and transacted business in the state of Georgia.

                                                       13.

        Defendant UT&M Licensing contacted Raymond by telephone and email to

solicit Raymond’s interest in licensing this federally registered trademark1, and

transacted business in the state of Georgia.

                                                       14.

        Defendant UT&M Training contacted Raymond by telephone and email to

solicit Raymond’s interest in providing training services to UT&M Training, and

transacted business in the state of Georgia

1
 According to the United States Patent and Trademark Office trademark database, the trademark, Unlimited Taxes &
More Inc.®, is owned by UT&M Licensing.


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                                            15.

      Venue is appropriate in this Court as Defendants conduct business and

regularly solicit business in this venue.

                                            16.

      Defendant UT&M Franchising has its principal office address business at

241-C West General Screven Way, Hinesville, GA 31313, and may be served with

process by delivering a copy of the Summons and Complaint to its registered agent,

Shonda Mickel, who is located at 804 Jay Street, Hinesville, Georgia 31313.

                                            17.

      Defendant UT&M Corp has its principal office address business at 241-C

West General Screven Way, Hinesville, GA 31313, and may be served with process

by delivering a copy of the Summons and Complaint to its registered agent, Shonda

M. Mickel, who is located at 804 Jay Street, Hinesville, Georgia 31313.

                                            18.

      Defendant UT&M Licensing has its principal office address business at 241-

C West General Screven Way, Hinesville, GA 31313, and may be served with

process by delivering a copy of the Summons and Complaint to its registered agent,

Shonda M. Mickel, who is located at 804 Jay Street, Hinesville, Georgia 31313.

                                            19.

      Defendant UT&M Franchising has its principal office address business at


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241-C West General Screven Way, Hinesville, GA 31313, and may be served with

process by delivering a copy of the Summons and Complaint to its registered agent,

Shonda M. Mickel, who is located at 804 Jay Street, Hinesville, Georgia 31313.

                                          20.

      Defendant Mickel may be served with process by delivering a copy of the

Summons and Complaint to her at her principal place of residence located at 804

Jay Street, Hinesville, Georgia 31313, or any other place that she may be found.


                          FACTUAL ALLEGATIONS

A.    Failure to Deliver FTC Disclosure Document

                                          21.

      Defendants are in the business of selling a proprietary system for the operation

of businesses that offer tax preparation services under the registered trademark,

“Unlimited Taxes & More Inc.®” and the unregistered trademark, “Unlimited Taxes

and More.” UT&M Licensing applied for its registered trademark, “Unlimited Taxes

& More Inc.®,” in 2013.

                                          22.

      Because of widespread deception in the sale of franchises and business

opportunities, the U.S. Federal Trade Commission (the “FTC”) regulates the sale of

franchises under an FTC rule entitled “Disclosure Requirements and Prohibitions

Concerning Franchising and Business Opportunity Ventures” (the “FTC Franchise

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Rule”). See 16 CFR Parts 436 and 437.

                                            23.

      Under the FTC Franchise Rule, a commercial business arrangement is a

“franchise” if it satisfies three definitional elements; specifically, the franchisor

must: (1) promise to provide a trademark or other commercial symbol; (2) promise

to exercise significant control or provide significant assistance in the operation of

the business; and (3) require a minimum payment of at least $500 during the first six

months of operations. See https://www.ftc.gov/legal-library/browse/rules/franchise-rule.

                                           24.

      Defendants meet the definition of a franchise under the Franchise Rule.

                                            25.

      The FTC Franchise Rule requires franchisors to provide all potential

franchisees with a disclosure document containing 23 specific items of material

information about the offered franchise, its officers, and other franchisees, to enable

the potential franchisees to weigh the risks and benefits of such an investment. See

16 CFR Parts 436 and 437.

                                           26.

      None of the Defendants has ever delivered to Raymond the required

disclosure document and have thereby violated the FTC Franchise Rule.

                                           27.


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      Defendants intentionally failed to deliver the FTC disclosure statement

because they knew Raymond’s review of the FTC disclosure statement would

include material information of a negative nature about UT&M Franchising and its

affiliates that would dissuade Raymond from purchasing the Franchise (collectively,

the “Material Misrepresentations and Omissions”).

                                          28.

      Defendants refrained from delivering the FTC disclosure statement from

Raymond with the intent to induce Plaintiff to act to his detriment by purchasing the

Franchise.

B.    Franchise and Ancillary Agreements

                                         29.

      Raymond signed a Franchise Agreement with UT&M Franchising on

October 25, 2021, for a five-plus year term ending on December 31, 2026. Under

the Franchise Agreement, Raymond acquired the right to operate a tax preparation

service in Ft. Worth, Texas using UT&M Franchising’s trademarks, systems, and

procedures (the “Franchise”). The Franchise Agreement is attached hereto and

incorporated herein by reference as Exhibit A. The Franchise Agreement includes

Schedule A, Schedule B, and Schedule C, which were also signed by Raymond.

See Exhibit A supra.

                                         30.


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      Contemporaneously with his execution of the Franchise Agreement,

Raymond also signed a Software License Agreement with UT&M Franchising and

an Affiliate Software License Agreement with UT&M Corp. The Software License

Agreement and the Affiliate Software License Agreement are attached hereto and

incorporated herein by reference as Exhibit B and Exhibit C, respectively. UT&M

Franchising and UT&M Corp are hereinafter referred to collectively as

“Unlimited.”

                                        31.

      At the same time, Raymond also signed a Franchisee Acknowledgment

Agreement attached hereto and incorporated herein by reference as Exhibit D, a

Protocol Acknowledgement attached hereto and incorporated herein by reference

as Exhibit E, a Franchise Leader Acknowledgement Agreement attached hereto and

incorporated herein by reference as Exhibit F, a Fraud Policy attached hereto and

incorporated herein by reference as Exhibit G, and a Tax Preparer Affiliate

Acknowledgement Agreement attached hereto and incorporated herein by

reference as Exhibit H.

C.    Location

                                        32.

      The Franchise operated from a storefront located at 6730 Brentwood Stair

Road, Fort Worth, Texas 76112 (the “Storefront”). Unlimited leased the Storefront


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and subleased it to Raymond for a yearly nonrefundable renewal fee of $10,000.

See Schedule A to the Franchise Agreement. See Exhibit A supra.

                                         33.

        According to the Agreements, Raymond had no obligation to pay the renewal

fee during the first year of the Franchise’s operation; however, Unlimited breached

the Agreements by demanding that Raymond pay the $10,000 renewal fee in

January 2022, after less than three months of operation, instead of October 25,

2022.

D.      Royalty and Transaction Fees; Financial Reports; Payment Process

                                         34.

        Section 2.2 of the Franchise Agreement requires that Raymond pay

Unlimited a continuing royalty, payable weekly, equal to 30% of all net revenue

derived from the sale of goods and services provided by the Franchise (the “Royalty

Fees”). See Exhibit A supra. The Software License Agreement and Affiliate

Software License Agreement also reference the payment of the Royalty Fees. See

Exhibit B and Exhibit C supra.

                                          35.

        In addition to the Royalty Fees, Unlimited is entitled to the payment of

transaction fees under the Agreements. The Agreements require that the Franchise

charge each of its clients the following fees: $99.00 Service Bureau Fee, $99.00


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Transmission Fee, $99.00 E-File Fee/Doc Prep Fee, $275.00 Direct E-File Fee, and

Taxpayer Advance Fee of between $45.00 and $100.00 (collectively, the

“Transaction Fees”).

                                          36.

      Under the Agreements, all revenue produced by the Franchise is

automatically deposited into a bank account that Unlimited controls and under

which it has complete and unfettered discretion. See Exhibits A, Exhibit B, and

Exhibit C supra.

                                          37.

      Unlimited requires the Franchise to input data into a software program to

which Unlimited has unfettered access.          The software program details the

following:

         (i)     Each client serviced by the Franchise.

         (ii)    The transaction Fees paid by each of the Franchisee’s clients.

         (iii)   The date the Franchisee filed federal and state tax returns for each

                 client.

         (iv)    The expected tax refund due for each client after deducting the

                 transaction fees, royalty payment, other tax preparation charges,

                 and the amount payable to the Franchisee.

         (v)     The date the Internal Revenue Service and/or any state tax authority


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                 deposited each client’s tax refund into the bank account controlled

                 by Unlimited.

          (vi)   The amount of the Royalty due and payable to Unlimited from each

                 client’s tax refund.

          (vii) The balance due to the Franchisee from each client for services

                 rendered by the Franchisee, including services performed by the

                 Franchisee’s affiliates.

          (viii) The remaining balance due to the Client.

                                            38.

      Unlimited has complete control over when and if the Franchisee or its

affiliates are paid for services rendered to the Franchisee’s clients.

E.    Tax Returns Processed and Payments Received or Due and Payable

                                            39.

      From October 25, 2021, through March 14, 2022, the Franchisee prepared

federal and state tax returns for 198 clients who have already received tax refunds.

Unlimited has received $313,516.40 in revenue attributable to these 198 clients.

                                            40.

      In addition, as of March 15, 2022, the Franchisee had prepared federal and

state tax returns for over 500 additional clients who had not yet received tax

refunds. On information and belief, Unlimited was to receive approximately


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$791,700.00 in additional revenue attributable to those over 500 clients.

F.    Affiliate Network

                                         41.

      In addition to the revenue generated by the Storefront, Raymond also

developed an affiliate network consisting of independent contractors that he engaged

as tax preparers. Among these independent contractors was his mother, Tanya

Raymond, who prepared approximately 75 to 85 tax returns.

                                          42.

      Tanya Raymond’s tax return preparation services alone generated tax

preparation fees to Unlimited of approximately $50,000, and royalties to Unlimited

of approximately $29,000, with the balance of approximately $67,000 to have been

split between Raymond and his mother. However, to date, Unlimited has withheld

100% of the payment due to Raymond and his mother.

                                          43.

      The other members of the affiliate network included Kayla Brown, Monica

Brown, Erica Nelson, Christian Cardoso, Kierra Dickerson, Jahnell Easly, Kimberly

Edwards, Laquita Edwards, Karen Neal, Laquan Skinner, Jasmeika Simons, and

Kijandria Veal.

                                          44.

      These other members of the affiliate network, as of March 15, 2022, had


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prepared approximately 885 tax returns. These tax return preparation services alone

generated tax preparation fees to Unlimited of approximately $52,000, and royalties

to Unlimited of approximately $30,000, with the balance of approximately $72,000

to have been split between Raymond and these affiliates. On information and belief,

Unlimited has circumvented Raymond by paying certain of these affiliates directly,

thereby cutting Raymond out of the loop. To date, Unlimited has withheld 100% of

the payment due to Raymond.

                                       43.

      In direct competition with Raymond, and without terminating the Franchisee,

Unlimited has recruited three of Raymond’s affiliates, namely Laquinta Edwards,

Erica Nelson, and Kierra Dickerson, to work directly for Unlimited to the detriment

of Raymond.

G.    Failure to Deliver Transaction Reports, Forfeiture of Fees, Withholding
      Additional Fees, and Denying Access to Bank Account

                                         45.

      On March 16, 2022, Raymond received a text message from Defendant

Mickel stating that “You’re very immature!!! Your fees are forfeited. Please don’t

contact me again – your attorney can correspond with my attorney.” See Text

Message attached hereto and incorporated herein by reference as Exhibit I.

                                         46.



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        Shortly thereafter, Unlimited instructed the bank to withhold further

payments to Raymond and deny Raymond access to the bank account.

                                                        47.

        Unlimited also cut Raymond off from receiving any further Transaction

Reports. As a result, Raymond cannot determine with exactitude the tax preparation

fees to which the Franchisee is entitled and Unlimited has wrongfully withheld.

                                                        48.

        Declaring a forfeiture, withholding further payments to Raymond, denying

Raymond access to the bank account, and withholding Transaction Reports all

constitute additional breaches of contract by Defendants.

                                                        49.

        Additional tax preparation fees payable to the Franchisee became due on

March 30, 2022, April 7, 2022, and April 14, 2022. As of today’s date, Unlimited

has wrongfully withheld from Raymond at least $156,000.00 in tax preparation fees

from the Storefront’s operation and at least $141,000.00 from Raymond’s affiliate

network.2

H.      Deactivation of Tax Preparation Software

                                                        50.


2
 As described previously, the exact amount of actual damages is not ascertainable at this time because Defendants
have denied Raymond access to the Transaction Reports that provide the data required to determine Raymond’s actual
damages.


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      In mid-March 2022, without any notice of termination, Unlimited arbitrarily

deactivated the tax preparation software that Raymond licensed from Unlimited.

As a result, Raymond is unable to provide tax preparation services to new clients.

Defendants’ deactivation of the tax preparation software constitutes another breach

of contract.

I.    Wrongful Termination of Sublease

                                         51.

      As noted previously, UT&M Franchising leases the Storefront and subleases

it to Raymond for a yearly nonrefundable renewal fee of $10,000. The annual

renewal fee was due and payable on December 31, 2022, under the plain meaning

of the Agreement. Defendants, however, breached the Franchise Agreement by

improperly demanding that Raymond pay annual renewal fee in January 2022, or

face eviction. Because of Defendants’ superior bargaining power, Raymond was

forced to pay the annual renewal fee 12 months before it was actually due.

                                          52.

      Then, in March 2022, the landlord showed Raymond a letter from Defendants

advising the landlord that Raymond was vacating the premises on April 30, 2022.

Until then, Raymond had no idea that Defendants were attempting to force him off

the premises. Raymond was forced to vacate the premises on April 30, 2022.

Defendants’ actions in forcing Raymond’s departure from the premises also


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constitutes a breach of contract.

J.    Raymond Has Not Received any Notice of Default

                                          53.

      The Agreements are in full force and effect. Raymond has not received any

notice of default under the Agreements.


K.    Wire Fraud

                                           54.

      Unlimited engaged in a systematic and ongoing scheme with the intent to

defraud, deceive, mislead, and/or fraudulently induce prospective franchisees to

purchase franchisees from Unlimited rather than from other purveyors of tax

preparation franchises. Unlimited knowingly devised or knowingly participated in a

scheme or artifice to defraud Raymond or to obtain the money or property of

Raymond by means of fraudulent pretenses, representations, or promises in violation

of 18 U.S.C. § 1843.

                                           55.

      Unlimited’s business practices described above are contrary to public policy

or fail to measure up to the reflection of moral uprightness, fundamental honesty,

fair play and right dealing in the general and business life of members of society in

violation of 18 U.S.C. § 1843.



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                                          56.

      Unlimited could foresee that the interstate wires would be used “for the

purpose of” advancing, furthering, executing, concealing, conducting, participating

in or carrying out the scheme, within the meaning of 18 U.S.C. § 1843.

                                          57.

      In particular, Unlimited knew or could foresee that the interstate wires would

be used to transmit false and deceptive descriptions of the Unlimited franchise

opportunity on Unlimited Taxes websites.

                                          58.

      Mickel acting singly and in concert, personally or through Unlimited (or their

agents), used the interstate wires or caused the interstate wires to be used “for the

purpose of” advancing, furthering, executing, concealing, conducting, participating

in, or carrying out a scheme to defraud Raymond, within the meaning of 18 U.S.C.

§ 1843.

                                          59.

      It is not possible for Raymond to plead with particularity all instances of wire

fraud that advanced, furthered, executed and concealed the scheme because the

particulars of many such communications are within the exclusive control and within

the exclusive knowledge of Unlimited.

                                          60.


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      All of the wire communications described above crossed interstate and

international borders by reason of the technology used to transmit the

communications.

                                           61.

      Some or all of the communications described above have appeared and

continue to appear on Unlimited’s websites or email servers since the date of their

original posting.

                                           62.

      Each and every use of the interstate wires described above was committed by

Unlimited with the specific intent to defraud Raymond by means of false or

fraudulent pretenses, representations or promises. Unlimited’s acts of wire fraud in

violation of 18 U.S.C. § 1343 constitute racketeering activity as defined by 18 U.S.C.

§ 1961(1)(B).

                                           63.

      Raymond justifiably relied on Unlimited’s fraudulent representations and

omissions made pursuant to the above-described scheme, resulting in a loss of

revenue to Raymond, a complete loss of Raymond’s investment in the Franchise,

Raymond’s insolvency and business failure, damage to Raymond’s reputation and

credibility as a businessperson, entrepreneur, and manager.




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                              CLAIMS FOR RELIEF

                                      COUNT I

                               FRAUD / RESCISSION

                                            64.

      Plaintiff realleges and reincorporates every paragraph, allegation, and count

of this Complaint as if fully set forth herein.

                                             65.

      Defendants intentionally made misrepresentations of material fact and/or

caused to be made omissions of material fact to Plaintiff, as set forth above

(collectively referred to as the “Material Misrepresentations and Omissions”), by

failing to provide Plaintiff with the FTC Disclosure Document with the intent induce

Plaintiff to act to his detriment by entering into the Agreements without the benefit

of having reviewed the FTC Disclosure Document.

                                             66.

      Defendants      knowingly       and        intentionally   made   the   Material

Misrepresentations and Omissions or caused the Material Misrepresentations and

Omissions to be made.

                                             67.

      Defendants made or caused these Material Misrepresentations and Omissions

both affirmatively and through silence or omission.


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                                           68.

      Defendants intended Plaintiff to rely on the Material Misrepresentations and

Omissions.

                                           69.

      Plaintiff reasonably and justifiably relied on the Material Misrepresentations

and Omissions.

                                           70.

      The Material Misrepresentations and Omissions made by Defendants

constituted fraud and intentional misrepresentation.

                                           71.

      Plaintiff suffered damages as a result of relying on the Material

Misrepresentations    and   Omissions,     and   on     the   fraud   and   intentional

misrepresentation by Defendants.

                                           72.

      Plaintiff is entitled to all losses, reasonable costs, reasonable expenses and

reasonable attorneys’ fees from Defendants.

                                           73.

      Plaintiff’s damages include, but are not limited to, approximately $750,000.00

in tax preparation fees, and attorney’s fees and expenses in this matter, and Plaintiff

is entitled to collect these damages from Defendants.


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                                            74.

      Plaintiff is entitled to the remedies sought herein for damages, and all

conditions precedent to Plaintiff’ entitlement to the remedies he seeks have been

satisfied or waived.

                                            75.

      Defendants’ actions resulted in the Agreements being voidable at the will of

Plaintiff, and, thus, Plaintiff is entitled to rescind the Agreements.

                                            76.

      Defendants are liable to Plaintiff in this action for rescission of the

Agreements, pursuant to O.C.G.A. § 13-4-60. All conditions precedent to Plaintiff’s

entitlement to rescind have been satisfied or waived.

                                      COUNT II

                       NEGLIGENT MISREPRESENTATION

                                            77.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                            78.

      The claim made in this Count Two is made in the alternative to Count One

and without waiving Plaintiff’s right to a claim for rescission of the Agreements as

set forth in Count One herein.


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                                             79.

      Defendants had a duty to Plaintiff to speak the truth and to cause the truth to

be spoken, when representations were made to Plaintiff which were material to

Plaintiff’s decision to enter into the Agreements.

                                             80.

      Defendants breached that duty and negligently made misrepresentations

and/or omissions of material facts to Plaintiff. Plaintiff was a foreseeable party, who

reasonably relied on the misrepresentations made by Defendants to his detriment;

and, as a result, was proximately injured.

                                             81.

      Defendants are liable to Plaintiff for actual and consequential damages in

amounts to be proven at a trial or hearing on damages.

                                             82.

      Plaintiff’s damages include, but are not limited to, $750,000.00, his

reasonable costs, reasonable expenses and reasonable attorneys’ fees from

Defendants, and Plaintiff is entitled to collect these damages from Defendants.

                                             83.

      Plaintiff is entitled to the remedies sought herein for damages, and all

conditions precedent to Plaintiff’ entitlement to the remedies he seeks have been

satisfied or waived.


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                                      COUNT III

                             CONSTRUCTIVE FRAUD

                                            84.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                            85.

      The claim made in this Count III is made in the alternative and without

waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in

Count One herein.

                                            86.

      In relevant part, O.C.G.A. § 23-2-51(b) provides that “[c]onstructive fraud

consists of any act of omission or commission, contrary to legal or equitable duty,

trust, or confidence justly reposed, which is contrary to good conscience and

operates to the injury of another.”

                                            87.

      Defendants have committed certain acts of omission or commission, which

were contrary to legal or equitable duty, trust or confidence justly reposed, contrary

to good conscience and injured Raymond:

                                            88.

      Raymond sustained loss and damage as the proximate result of Defendants’


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constructive fraud, including, without limitation, the following:

      (i)     A complete loss of Raymond’s investment in the Franchise;

      (ii)    Raymond’s insolvency and business failure;

      (iii)   Loss of income to Raymond; and

      (iv)    Damage to Raymond’s reputation and credibility as a businessperson,

              entrepreneur and manager.

                                           89.

      Raymond is entitled to relief in the form of general damages in an amount to

be determined at trial.

                                           90.

      Raymond is entitled to relief in the form of attorneys' fees and expenses of

litigation because Defendants engaged in constructive fraud.

                                           91.

      Raymond is entitled to relief in the form of punitive damages, in an amount

to be determined at trial, because Defendants engaged in constructive fraud.

                                    COUNT IV

              TORTIOUS MISCONDUCT / NEGLIGENCE PER SE

                                           92.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and




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count of this Complaint as if fully set forth herein.

                                            93.

       The claim made in this Count IV is made in the alternative and without

waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in

Count One herein.

                                            94.

       Defendants owed a duty to Plaintiff not to engage in wire fraud in violation

of 18 U.S.C. 1343 in a scheme to obtain money from Plaintiff by means of false or

fraudulent pretenses, representations, or promises.

                                            95.

       Defendants breached the duty not to engage in wire fraud.

                                            96.

       Defendants owed a duty to Plaintiff not to engage in theft of money from

Plaintiff.

                                            97.

       Defendants breached the duty not to engage in theft.

                                            98.

       Defendants owed a duty to Plaintiff not to engage in fraud.

                                            99.

       Defendants breached the duty not to engage in fraud.



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                                           100.

      Defendants breached the duty not to engage in the wrongful conduct set forth

in this Complaint.

                                           101.

      The breaches by Defendants constitute negligence per se.

                                           102.

      The breaches by Defendants proximately caused Plaintiff to suffer damages,

including special damages, as set forth in this Complaint.

                                           103.

      Plaintiff is entitled to recover damages from Defendants under O.C.G.A. §§

51-1-1, 51-1-6 to 8, and all other authority.

                                        104.

      Plaintiff’s damages include, but are not limited to, $750,000.00, his

reasonable costs, reasonable expenses and reasonable attorneys’ fees from

Defendants, and Plaintiff is entitled to collect these damages from Defendants.

                                        105.

      Plaintiff is entitled to the remedies sought herein for damages, and all

conditions precedent to Plaintiff’ entitlement to the remedies he seeks have been

satisfied or waived.


                                      COUNT V


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                               CIVIL CONSPIRACY

                                        106.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                        107.

      The claim made in this Count V is made in the alternative and without waiving

Plaintiff’ right to a claim for rescission of the Agreements as set forth in Count One

herein.

                                        108.

      “A conspiracy upon which a civil action for damages may be founded is a

combination between two or more persons either to do some act which is a tort, or

else to do some lawful act by methods which constitute a tort. The gist of the action,

if a cause of action exists, is not the conspiracy alleged, but the tort committed

against the plaintiff and the resulting damage.” Cook v. Robinson, 216 Ga. 328, 329,

116 SE2d 742 (1960).

                                        109.

      Reasonable people, including a jury, could conclude that Defendants engaged

in a conspiracy, and that the sole purpose of the conspiracy was to defraud Raymond

cheating Raymond out of money he was owed.

                                        110.



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      The facts indicate that all Defendants acted in a conspiracy among themselves.

They engaged in multiple predicate acts as part of the conspiracy.

                                       111.

      The acts associated with the aforementioned elements of the conspiracy were

tortious in nature.

                                       112.

      Defendants inflicted great harm upon Plaintiff through their predicate acts.

                                       113.

      Plaintiff sustained loss and damage as the proximate result thereof, including,

without limitation, the following:

      (i)     A complete loss of Raymond’s investment in the Franchise.

      (ii)    Raymond’s insolvency and business failure.

      (iii)   Loss of income to Raymond.

      (iv)    Damage to Raymond’s reputation and credibility as a businessperson,

              entrepreneur, and manager.

                                       114.

      Plaintiff is entitled to relief in the form of general damages in an amount to be

determined at trial.

                                       115.

      Plaintiff is entitled to relief in the form of attorneys' fees and expenses of


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litigation as a result thereof.

                                         116.

       Plaintiff is entitled to relief in the form of punitive damages, in an amount to

be determined at trial as a result thereof.

                                     COUNT VI

                                  GEORGIA RICO

                                         117.

       Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                         118.

       Defendants have intentionally violated the Georgia Racketeer Influenced and

Corrupt Organizations) Act (“Georgia RICO”) at O.C.G.A. § 16-14-1 et seq., by

engaging in, conspiring to engage in, or endeavoring to engage in, a pattern of

racketeering activity, by engaging in multiple instances of fraud, wire fraud, theft,

and wrongdoing against Plaintiff as set forth herein, and upon information and belief

engaging in similar instances of fraud, wire fraud, theft and wrongdoing with regard

to other consumers, entitling Plaintiff to treble and punitive damages under O.C.G.A.

§ 16-14-6(c).




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                                    COUNT VII

                                  FEDERAL RICO

                                        119.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                        120.

      Defendants have intentionally violated the Federal Racketeer Influenced and

Corrupt Organizations Act (“Federal RICO”) at 18 U.S.C. § 1961-1968 by engaging

in, conspiring to engage in, or endeavoring to engage in, a pattern of racketeering

activity, by engaging in multiple instances of fraud, wire fraud, theft and wrongdoing

against Plaintiff as set forth herein, and upon information and belief engaging in

similar instances of fraud, wire fraud, theft and wrongdoing with regard to other

potential damages, entitling Plaintiff to treble damages and the cost of the suit,

including a reasonable attorney’s fee, under 18 U.S.C. § 1964.

                                        121.

      Federal RICO explicitly provides a cause of action for any person injured in

his business or property by reason of a violation of the federal RICO statute. 18

U.S.C.S. § 1964(c).

                                        122.

      The U.S. Supreme Court “has made it clear that federal RICO applies ‘not


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just [to] mobsters’ but to ‘any person’ who violates its provisions. The statute,

moreover, is intended ‘to be read broadly,’ in accordance with "Congress' self-

consciously expansive language and overall approach,’ as ‘an aggressive initiative

to supplement old remedies and develop new methods for fighting crime,’

regardless of whether the defendant is associated with organized crime or a

‘respected business.’” Chevron Corp. v. Donziger, 974 F. Supp. 2d 362, 526-27

(S.D.N.Y. 2014) citing Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 497-99 (1985.

                                        123.

      To prove a violation of 18 U.S.C. § 1962(c), a Raymond must establish: (i)

the existence of an enterprise which affects interstate or foreign commerce; (ii) that

the defendant associated with the enterprise; (iii) that the defendant participated in

or conducted the enterprise's affairs; and (iv) that the participation in or conduct of

the enterprise's affairs was through a pattern of racketeering activities. United States

v. Goldin Indus., Inc., 219 F.3d 1271, 1274 (11th Cir. 2000) (citing United States

v. Weinstein, 762 F.2d 1522, 1536 (11th Cir. 1985)).

                                        124.

      18 U.S.C. § 1961(4) defines an "enterprise" as "any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals

associated in fact although not a legal entity."




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                                       125.

      At all relevant times, the enterprises alleged in paragraphs 126 through 140

infra were engaged in, and their activities affected, interstate commerce.


      A. The Individual Enterprise

                                       126.

      An association-in-fact enterprise is "a group of persons associated together

for a common purpose of engaging in a course of conduct." Boyle v. United States,

556 U.S. 938, 946, 129 S. Ct. 2237, 173 L. Ed. 2d 1265 (2009) (quoting United

States v. Turkette, 452 U.S. 576, 583, 101 S. Ct. 2524, 69 L. Ed. 2d 246 (1981)).

                                       127.

      Although it need not have an "'ascertainable structure' distinct from the

associations necessary to conduct the pattern of racketeering activity," Goldin

Indus., 219 F.3d at 1275, an association-in-fact nevertheless "must have at least

three structural features: a purpose, relationships among those associated with the

enterprise, and longevity sufficient to permit these associates to pursue the

enterprise's purpose." Boyle, 556 U.S. at 946.

                                       128.

      "[T]he definitive factor in determining the existence of a RICO enterprise is

the existence of an association of individual entities, however loose or informal,

that furnishes a vehicle for the commission of two or more predicate crimes, that is,


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the pattern of racketeering activity requisite to the RICO violation." Goldin Indus.,

219 F.3d at 1275 (citing United States v. Elliott, 571 F.2d 880, 898 (5th Cir. 1978)).

                                       129.

      Unlimited and Shonda M. Mickel constitute an “enterprise,” within the

meaning of 18 U.S.C. §§ 1961(4) and 1962(c), in that they are “a group of

individuals associated in fact” (hereinafter referred to as the “Individual

Enterprise”).

                                       130.

      Unlimited and Shonda M. Mickel share the common purpose of, among other

things, fraudulently and deceptively selling a franchise to Raymond that failed to

comply with the FTC Disclosure Rule.

                                       131.

      Unlimited and Shonda M. Mickel are related in that they cooperatively

market and sell Unlimited Taxes & More Franchises.

                                       132.

      The Individual Enterprise possesses sufficient longevity for its members to

carry out their purposes in that the Individual Enterprise has operated, at a

minimum, since 2013, continues to operate, and continues to fraudulently induce

potential franchises to purchase the Unlimited Taxes & More franchises.




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                                      133.

      Unlimited and Shonda M. Mickel are each a “person,” within the meaning of

18 U.SC. §§ 1961(3) and 1962(c), who individually conducted, participated in,

engaged in, and operated and managed the affairs of the Individual Enterprise

through a pattern of racketeering activity within the meaning of 18 U.S.C. §§

1961(1), 1961(5) and 1962(c).

                                      134.

      Said pattern of racketeering activity consisted of, but was not limited to, the

acts of wire fraud described in ¶¶ 54 through 63.


      B. Corporate Enterprise (Alternatively)

                                      135.

      In the alternative to ¶¶ 127 through 134 supra, UT&M Franchising, UT&M

Corp, UT&M Licensing, and UT&M Training, as legal entities, constitute an

“enterprise,” within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c) (hereinafter

referred to as the “Corporate Enterprise”).

                                      136.

      UT&M Franchising, UT&M Corp, UT&M Licensing, and UT&M Training

share the common purpose of, among other things, fraudulently and deceptively

selling a franchise to Raymond that failed to comply with the FTC Disclosure Rule.




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                                      137.

      UT&M Franchising, UT&M Corp, UT&M Licensing, and UT&M Training

are related in that they cooperatively market and sell fraudulently and deceptively

sell Unlimited Taxes & More franchises that failed to comply with the FTC

Disclosure Rule and share common ownership.

                                      138.

      The Corporate Enterprise possesses sufficient longevity for its members to

carry out their purposes in that the Individual Enterprise has operated, at a

minimum, since 2013, continues to operate, and continues to fraudulently induce

potential franchises to fraudulently and deceptively selling a franchise to Raymond

that fail to comply with the FTC Disclosure Rule.

                                      139.

      UT&M Franchising, UT&M Corp, UT&M Licensing, UT&M Training and

Shonda M. Mickel are each a “person,” within the meaning of 18 U.SC. §§ 1961(3)

and 1962(c), who individually conducted, participated in, engaged in, and operated

and managed the affairs of Corporate Enterprise through a pattern of racketeering

activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c).

                                      140.

      Said pattern of racketeering activity consisted of, but was not limited to, the

acts of wire fraud described in ¶¶ 54 through 63.


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                                    COUNT VIII

                            BREACH OF CONTRACTS

                                        141.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                        142.

      The claim made in this Count Eight is made in the alternative and without

waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in

Count One herein.

                                        143.

      To the extent that the Court denies rescission and enforces the Agreements,

Defendants have breached the Agreements.

                                        144.

      Defendants have failed to provide services as promised.

                                        145.

      Defendants have failed to pay Plaintiff the amounts due to the Franchise.

                                        146.

      Defendants have failed to provide access to the bank accounts maintained for

Franchisee and have deactivated the tax preparation software, as promised.




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                                        147.

      Defendants have otherwise breached the Agreements.

                                        148.

      Defendants have breached the implied covenant of good faith and fair dealing.

                                        149.

      Plaintiff is entitled to recover monetary and other appropriate damages from

Defendants for breach of the Agreements, including but is not limited to

$750,000.00.

                                        150.

      Plaintiff is entitled to the remedies sought herein for damages, and all

conditions precedent to Plaintiff’ entitlement to the remedies he seeks have been

satisfied or waived.

                                     COUNT IX

                                   CONVERSION

                                        151.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                        152.

      The claim made in this Count Nine is made in the alternative and without

waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in


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Count One herein.

                                         153.

      As more specifically described above, Defendants converted includes, but is

not limited to tax preparation fees in the amount of approximately $750,000.00 to

the detriment of Plaintiff, and equity requires Defendants to compensate Plaintiff for

this theft by returning the tax preparation fees due to Plaintiff.

                                         154.

      Plaintiff is entitled to recover monetary and other appropriate damages from

Defendants, resulting from the conversion by Defendants.

                                         155.

      Plaintiff is entitled to the remedies sought herein for damages, and all

conditions precedent to Plaintiff’ entitlement to the remedies he seeks have been

satisfied or waived.

                                      COUNT X

                              UNJUST ENRICHMENT

                                         156.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                         157.

      The claim made in this Count Ten is made in the alternative and without


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waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in

Count One herein.

                                        158.

       As more specifically described above, Defendants were unjustly enriched to

the detriment of Plaintiff, and equity requires Defendants to compensate Plaintiff for

this benefit.

                                        159.

       Plaintiff is entitled to recover monetary and other appropriate damages from

Defendants, resulting from the unjust enrichment of Defendants.

                                        160.

       The amount by which Defendants have been unjustly enriched includes, but

is not limited to, tax preparation fees in the amount of approximately $750,000.00,

and Plaintiff is entitled to collect the tax preparation fees from Defendants.

                                        161.

       Plaintiff is entitled to the remedies sought herein for damages, and all

conditions precedent to Plaintiff’ entitlement to the remedies he seeks have been

satisfied or waived.




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                                     COUNT XI

       PIERCE CORPORATE VEIL / AID & ABET BREACH OF DUTY

                                        162.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                        163.

      The claim made in this Count XI is made in the alternative and without

waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in

Count One herein.

                                        164.

      Upon information and belief, are sham or “shell” entities, solely organized

and operated as the mere alter-ego or instrumentality of Mickel for her own personal

benefit and financial gain and used to perpetuate fraud on Raymond and others.

                                        165.

      Specifically, upon information and belief, Mickel used Unlimited as an

artifice of her fraudulent scheme to induce Raymond to build a lucrative tax

preparation business, which Mickel intended to steal away from Raymond once the

business developed momentum and could operate independently of Raymond.

Mickel knowingly and intentionally falsely represented the services provided by

Unlimited, commingled personal and business funds in connection with Unlimited,



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undercapitalized Unlimited, and misrepresented the sustainability and ability of

Unlimited to provide services promised.

                                       166.

      Upon information and belief, at all times relevant to the events alleged herein,

Mickel exercised absolute and total dominion and control over Unlimited’s finances

and operations and used such for her own personal benefit.

                                       167.

      Upon information and belief, Mickel has disregarded the basic corporate and

limited liability company formalities in her operation of Unlimited. This disregard

includes but is not limited to the commingling funds and assets, undercapitalization,

and otherwise operating Unlimited in such a way that the company no longer has its

own corporate personality that is separate and distinct from Shonda M. Mickel.

                                       168.

      Based on the above, Mickel used Unlimited to perpetuate a fraud upon

Raymond and, therefore, are individually liable to Raymond for the conduct

described herein.

                                       169.

      Through improper and wrongful conduct, and without privilege, and with

knowledge that Unlimited owed Raymond duties, Mickel acted purposely and with

malice and the intent to injure Raymond.


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                                        170.

      The wrongful conduct of Mickel procured a breach of Unlimited’s duties to

Raymond, which proximately caused damage to Raymond.

                                        171.

      Mickel is jointly liable with the other Defendants for the injuries to Raymond,

and Raymond is entitled to damages from Mickel.

                                    COUNT XII

                             CONSTRUCTIVE TRUST

                                        172.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                        173.

      The claim made in this Count XII is made in the alternative and without

waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in

Count One herein.

                                        174.

      “A constructive trust is an involuntary equitable trust created as a remedy to

compel the transfer of property from the person wrongfully holding it to the rightful

owner.” Platypus Wear, Inc. v. Horizonte Fabricacao Distribuicao Importacao E

Exportacao Ltda, No. 08-cv-20738-KMM, 2015 U.S. Dist. LEXIS 184368 (S.D. Fla.


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Mar. 2, 2015) (citing In re Real Estate Associates Ltd. Partnership Litig., 223 F.

Supp. 2d 1109, 1139 (C.D. Cal. 2002)), affirmed Platypus Wear, Inc. v. Horizonte

LTDA, 693 Fed. Appx. 843, 2017 U.S. App. LEXIS 12337 (11th Cir. Fla., July 11,

2017).

                                        175.

      A constructive trust “is a trust implied whenever the circumstances are such

that the person holding legal title to property, either from fraud or otherwise, cannot

enjoy the beneficial interest in the property without violating some established

principle of equity.” O.C.G.A. § 53-12-132.

                                        176.

      “Equity will not allow one with a legal interest in a piece of property a

windfall recovery when the beneficial interest should flow to another.” Weekes v.

Gay, 243 Ga. 784, 787 (3) (256 SE2d 901) (1979). A “constructive trust is a remedy

created by a court in equity to prevent unjust enrichment.” St. Paul Mercury Ins. Co.

v. Meeks, 270 Ga. 136, 138 (2) (508 SE2d 646) (1998).

                                        177.

      “The imposition of a constructive trust requires: (1) the existence of res

(property or some interest in property); (2) the right of the complaining party to that

res; and (3) some wrongful acquisition or detention of the res by another party who




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is not entitled to it.” See Burlesci v. Petersen, 68 Cal. App. 4th 1062, 1069 (1998).

                                       178.

      Unlimited structured its franchise relationship with Raymond to assure that

Unlimited had complete and utter control over any and all funds deposited in the

Franchisee’s bank account. These funds comprised not only Unlimited’s Royalty

and Transaction Fees, but at least $750,000.00 in revenues belonging exclusively to

Raymond.

                                       179.

      “A fiduciary duty extends between parties when there is confidence reposed

on one side and the resulting superiority and influence on the other.

                                       180.

      The extent of Unlimited’s control over the revenues of the Franchisee imposed

duties of care, confidentiality, loyalty, obedience, and accounting upon Unlimited.

                                       181.

      Unlimited has breached its fiduciary duties to Raymond and defrauded

Raymond by wrongfully withholding from Raymond the revenues to which

Raymond is entitled as Unlimited’s franchisee.

                                       182.

      As a consequence of the fraudulent, wrongful, unlawful, and inequitable

conduct of Unlimited, as alleged above, Unlimited has obtained property interests


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and profits therefrom which in justice and equity belong to Raymond. These interests

and profits include, but are not limited to, at least $750,000.00 wrongfully withheld

from Raymond, and all sums derived from the investment of such profits and any

assets purchased therewith, together with an amount equal to the remaining present

value of the said property.

                                          183.

      The property Unlimited has withheld from Raymond is, on information and

belief, in imminent danger of dissipation.

                                          184.

      A constructive trust arises as a matter of law when the facts giving rise to the

fraud occur.

                                          185.

      The facts giving rise to Unlimited’s fraud demands the imposition of a

constructive trust to protect Raymond’s property by removing that property from

Unlimited’s control and ordering Unlimited to immediately deposit not less than

$750,000 in the registry of this Court.

                                   COUNT XIII

                                EQUITABLE LIEN

                                          165.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and


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count of this Complaint as if fully set forth herein.

                                         186.

      The claim made in this Count XIII is made in the alternative and without

waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in

Count One herein.

                                         187.

      O.C.G.A. § 23-2-90(a) defines “equitable assets” as those assets which “may

be reached only through the intervention of equity.”. 843, 2017 U.S. App. LEXIS

12337 (11th Cir. Fla., July 11, 2017).

                                         188.

      The imposition of an equitable lien requires the right of the complaining party

to those assets; and the wrongful acquisition or detention of those assets by another

party who is not entitled them.

                                         189.

      Unlimited structured its franchise relationship with Raymond to assure that

Unlimited had complete and utter control over those funds deposited in the

Franchisee’s bank account, which included, not only Unlimited’s Royalty and

Transaction Fees, but also not less than $750,000.00 in revenues belonging




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exclusively to Raymond.

                                       190.

      As a consequence of the fraudulent, wrongful, unlawful, and inequitable

conduct of Unlimited, as alleged above, Unlimited has obtained property interests

and profits therefrom which in justice and equity belong to Raymond. These interests

and profits include, but are not limited to, at least $750,000.00 wrongfully withheld

from Raymond, and all sums derived from the investment of such profits and any

assets purchased therewith, together with an amount equal to the remaining present

value of the said property.

                                       191.

      The property Unlimited has withheld from Raymond is, on information and

belief, in imminent danger of dissipation.

                                       192.

      The facts giving rise to Unlimited’s fraud demands the imposition of an

equitable lien to protect Raymond’s property by removing that property from

Unlimited’s control and ordering Unlimited to immediately deposit not less than




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$750,000 in the registry of this Court.

                                    COUNT XIV

                                   ACCOUNTING

                                          193.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                          194.

      The claim made in this Count XIV is made in the alternative and without

waiving Plaintiff’ right to a claim for rescission of the Agreements as set forth in

Count One herein.

                                          195.

      An equitable accounting is granted when an accounting at law is inadequate.

Herring v. Standard Guar. Ins. Co., 238 Ga. 261, 232 S.E.2d 544 (1977).

                                          196.

      The Franchise Agreement does not afford Raymond a contractual right at law

to an accounting.

                                          197.

      The relationship between Defendants and Raymond is so sufficiently

completed and without an adequate remedy at law at to require an equitable




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accounting.

                                        198.

      Defendants have acted in bad faith, have been stubbornly litigious, and have

caused Raymond unnecessary trouble and expense so as to necessitate an

accounting.

                                     COUNT XV

              ATTORNEYS’ FEES & EXPENSES OF LITIGATION

                                        199.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.

                                        200.

      Defendants have acted in bad faith, have been stubbornly litigious, and have

caused Raymond unnecessary trouble and expense so as to warrant an award of the

expenses of litigation, including reasonable attorney’s fees, pursuant to O.C.G.A. §

13-6-11.

                                    COUNT XVI

                              PUNITIVE DAMAGES

                                        201.

      Plaintiff hereby realleges and reincorporates every paragraph, allegation, and

count of this Complaint as if fully set forth herein.


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                                       202.

      The conduct of Defendants constitutes such willful misconduct, malice,

wantonness, oppression, and that entire want of care so as to raise a presumption of

a conscious indifference to the consequences of her actions, entitling Raymond to

an award of punitive damages.



      WHEREFORE, Plaintiff prays as follows:

      1. A trial by a jury of twelve be had on all counts so triable.

      2. In accordance with Count I, this Court rescind the Agreements and award

         judgment in favor of Raymond and against Defendants.

      3. In the alternative to rescinding the Agreements, this Court:

            a. In accordance with Count I, award judgment in favor of Raymond

                and against Defendants for fraud.

            b. In accordance with Count II, award judgment in favor of Raymond

                and against Defendants for negligent misrepresentation.

            c. In accordance with Count III, award judgment in favor of Raymond

                and against Defendants for constructive fraud.

            d. In accordance with Count VIII, award judgment in favor of

                Raymond and against Defendants for breach of contract.

            e. In accordance with Count IX, award judgment in favor of Raymond


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        and against Defendants for conversion.

     f. In accordance with Count X, award judgment in favor of Raymond

        and against Defendants for unjust enrichment.

     g. In accordance with Count IV, award judgment in favor of Raymond

        and against Defendants for tortious misconduct and negligence per

        se.

     h. In accordance with Count V, award judgment in favor of Raymond

        and against Defendants for conspiracy.

     i. In accordance with Count IX, award judgment in favor of Raymond

        and against Defendants for conversion.

     j. In accordance with Count X, award judgment in favor of Raymond

        and against Defendants for unjust enrichment.

4. In accordance with Count VI, this Court award judgment against

  Defendants for violations of Georgia RICO.

5. In accordance with Count VII, this Court award judgment against

  Defendants for Federal RICO.

6. In accordance with Count XI, this Court award judgment in favor of

  Raymond and against Shonda M. Mickel individually for fraud.

7. In accordance with Count XII, this Court award judgment in favor of

  Raymond and against Defendants, imposing a constructive trust of not less


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   than $750,000 of Raymond’s money that is held by Defendants, with said

   monies to be deposited in the Court’s registry, together with all profits of

   Defendants derived from the investment of these monies.

8. In accordance with Count XIII, this Court award judgment in favor of

   Raymond and against Defendants, imposing an equitable lien of not less

   than $750,000 of Raymond’s money that is held by Defendants, with said

   monies to be deposited in the Court’s registry, together with all profits of

   Defendants derived from the investment of these monies.

9. In accordance with Count XIV, this Court require an accounting for all

   monies in the bank account(s) controlled by Defendants.

10.In accordance with Count XV, this Court award Raymond his attorneys’

   fees, court costs, and litigation expenses.

11.In accordance with Count XVI, this Court award to Raymond general,

   special, compensatory, punitive, and other damages, and as supplemented

   in an amount to be determined by the enlightened conscience of an

   impartial jury.

12.This Court enter such other and further relief as it deems just and proper

   under the circumstances.




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     Respectfully submitted this 10th day of May 2022.

                                            /s/ Robert Arkin
                                            Robert Arkin, Esq.
                                            Georgia Bar No. 021575

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                                            Raymond

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             CERTIFICATION OF FONT TYPE AND SIZE

     The undersigned counsel hereby certifies that the foregoing has been

prepared with Times New Roman 14-Point Font, as approved in LR 5.1C.




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                         EXHIBIT A




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